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 4
     Attorney for JAMES CLINE
 5

 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,               ) No. 14-cr-210 JAM
 8
                     Plaintiff,                  )
 9                                               ) STIPULATION AND
            v.                                   ) ORDER EXONERATING JAMES CLINE’S
10                                               ) UNSECURED APPEARANCE BOND
                                                 )
11
     JAMES CLINE,                                )
12
                                                 )
                     Defendant.                  ) Judge: Hon. John A. Mendez
13   ================================)
14
            On November 27, 2018, defendant James Cline was sentenced to “time served”. The
15

16
     government, by and through AUSA Jason Hitt, and Defendant James Cline, by and through his

17   appointed CJA attorney Michael Long, hereby stipulate that Mr. Cline’s unsecured appearance bond
18   (ECF document 21) should be exonerated.
19
     Dated: November 27, 2018                           Respectfully submitted,
20
                                                        /s/ Michael D. Long
21                                                      MICHAEL D. LONG
                                                        Attorney for James Cline
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23
     Dated: November 27, 2018                           McGREGOR SCOTT
24                                                      United States Attorney
25
                                                        /s/ Jason Hitt
26                                                      JASON HITT
                                                        Assistant U.S. Attorney
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 1                                          ORDER
 2
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 3
            The Court orders that James Cline’s unsecured appearance bond (ECF document 21) is
 4
     hereby exonerated.
 5
     Dated: November 28, 2018                  /s/ John A. Mendez____________
 6
                                               John A. Mendez
 7                                             United States District Court Judge

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